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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

VICTORIA MORENO, on behalf of
herself and al! others similarly situated, Civil Action No.: 2:19-cv-10515
Hon. Paul D. Borman

Plaintiff, Magistrate: Judge R. Steven Whalen
Vv.

BR RESTAURANTS HOLDINGS,
LLC; BLUE RIBBON
RESTAURANTS, LLC d/b/a FAMOUS
DAVE’S; BLUE RIBBON
RESTAURANTS II, LLC d/b/a
FAMOUS DAVE’S; BLUE RIBBON
RESTAURANTS II, LLC d/b/a
FAMOUS DAVE’S BBQ; BLUE
RIBBON RESTAURANTS NOVI, LLC
d/b/a FAMOUS DAVE’S BBQ; BLUE
RIBBON RESTAURANTS
ROCHESTER, LLC d/b/a FAMOUS
DAVE’S BBQ; WINDY CITY
RESTAURANT HOLDINGS, LLC;
BUCKEYE BBQ, LLC; CAPITAL
BLUE RIBBON RESTAURANTS,
LLC; COMMONWEALTH BLUE
RIBBON RESTAURANTS, LLC;
ELLIOT BAUM and DOE
DEFENDANTS 1-10,

Ne Ne Ne es Ne es ee ee es ee ee ee ee fe ee ee ee Oe Oe ee Ee SS”

Defendants.

Gerald D. Wells, IJ Sean F. Crotty (P64987)

Robert J. Gray Matthew S. Disbrow (P65378)
CONNELLY WELLS & GRAY, LLP = Jennifer L. Muse (P81208)
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Attorneys for Defendants

NOTICE OF APPEARANCE

Please enter the Appearance of Jennifer L. Muse as counsel for Defendants

BR Restaurants Holding, LLC; Blue Ribbon Restaurants, LLC d/b/a Famous

Dave’s; Blue Ribbon Restaurants II, LLC d/b/a Famous Dave’s; Blue Ribbon

Restaurants III, LLC d/b/a Famous Dave’s BBQ; Blue Ribbon Restaurants Novi,

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LLC d/b/a Famous Dave’s BBQ; Blue Ribbon Restaurants Rochester, LLC d/b/a

Famous Dave’s BBQ; Windy City Restaurant Holdings, LLC; Buckeye BBQ,

LLC; Capital Blue Ribbon Restaurants, LLC; Commonwealth Blue Ribbon

Restaurants, LLC; Elliott Baum and Doe Defendants 1-10.

Dated: March 11, 2019

30392428.1

Respectfully submitted,

HONIGMAN LLP
Attorneys for Defendants

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CERTIFICATE OF SERVICE
I hereby certify that on this 11th day of March, 2019, I electronically filed
the foregoing paper(s) with the Clerk of the Court using the electronic court filing

system which will send notification of such filing to all attorneys of record.

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